                                                        Case 3:21-cv-00066-MMD-CLB Document 39 Filed 10/25/21 Page 1 of 4



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                                                   10                                       DISTRICT OF NEVADA
                                                   11
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                                                        CHRISTOPHER NELSON, on behalf of              Case No. 3:21-cv-00066-MMD-CLB
                                                        himself and all others similarly situated,
              THIERMAN BUCK LLP




                                                   12
                                                                                                      NOTICE OF FILING OF CONSENTS TO
                 7287 Lakeside Drive
                   Reno, NV 89511




                                                   13                  Plaintiff,                     JOINDER

                                                   14          vs.
                                                   15
                                                        WAL-MART ASSOCIATES, INC., and
                                                   16   DOES 1 through 50, inclusive,
                                                   17
                                                                      Defendant(s).
                                                   18
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                                                                                      NOTICE OF FILING CONCENTS TO JOINER
                                                        Case 3:21-cv-00066-MMD-CLB Document 39 Filed 10/25/21 Page 2 of 4




                                                    1          PLEASE TAKE NOTICE that annexed hereto are Consents to Sue pursuant to 29 U.S.C.
                                                    2   § 216(b) which are to be filed with the Clerk of the Court as of this date on behalf of the
                                                    3   following individuals:
                                                    4
                                                    5         No.        Last Name                        First Name
                                                    6               1.   Karsten                          Donna Michele
                                                    7
                                                    8          DATED: October 25, 2021                Respectfully Submitted,
                                                    9                                                 THIERMAN BUCK LLP
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                                                   10
                                                                                                       /s/Joshua R. Hendrickson
                                                   11                                                  Mark R. Thierman
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                                                                                                       Joshua D. Buck
              THIERMAN BUCK LLP




                                                   12                                                  Leah L. Jones
                 7287 Lakeside Drive




                                                                                                       Joshua R. Hendrickson
                   Reno, NV 89511




                                                   13
                                                                                                       Attorneys for Plaintiffs
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                                                         Case 3:21-cv-00066-MMD-CLB Document 39 Filed 10/25/21 Page 3 of 4




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                                                 11
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                                                                                     UNITED STATES DISTRICT COURT
                  7287 Lakeside Drive




                                                 12
                    Reno, NV 89511




                                                                                          DISTRICT OF NEVADA
                                                 13
                                                         CHRISTOPHER NELSON, on behalf of                Case No. 3:21-cv-00066-MMD-CLB
                                                 14      himself and all others similarly situated,
                                                                                                         CONSENT TO JOIN
                                                 15
                                                                        Plaintiff,
                                                 16
                                                                vs.
                                                 17
                                                 18      WAL-MART ASSOCIATES, INC., and
                                                         DOES 1 through 50, inclusive,
                                                 19
                                                                        Defendant(s).
                                                 20
                                                 21
                                                                The Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b), states, “No employee shall
                                                 22
                                                         be a party plaintiff to any such action [under the FLSA] unless he gives his consent in writing
                                                 23
                                                         to become such a party and such consent is filed in the court in which such action is brought”
                                                 24
                                                         and unless the Court provides otherwise, the statute of limitations is tolled on the FLSA claims
                                                 25
                                                         only when the Consent to Sue is filed with the Court.
                                                 26
                                                                Therefore, pursuant to the Fair Labor Standards Act, (“FLSA”) 29 U.S.C. § 216(b), I
                                                 27
                                                         hereby give my consent in writing to become a party plaintiff against my employer, former
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                                                                                               CONSENT TO JOIN
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                                                         Case 3:21-cv-00066-MMD-CLB Document 39 Filed 10/25/21 Page 4 of 4




                                                     1   employer, and/or any and all of its affiliated entities, currently identified as WAL-MART
                                                     2   ASSOCIATES, INC. I authorize the filing of a copy of this consent form in Court, with my
                                                     3   personal information redacted. I further consent to join this and/or any subsequent or amended
                                                     4   suit against the same or related defendants for wage and hour violations.
                                                     5          I CONSENT TO JOIN THIS LAWSUIT. By signing this Consent to Join, I am
                                                     6   agreeing to have Plaintiff CHRISTOPHER NELSON act as my agents to make decisions on
                                                     7   my behalf concerning the litigation and resolution of my FLSA claims. I am also agreeing to
                                                     8   be represented by Plaintiffs’ attorneys, Thierman Buck, LLP, 7287 Lakeside Drive, Reno, NV
 Email: info@thiermanbuck.com www.thiermanbuck.com




                                                     9   89511, and any other attorneys with whom they may associate, unless I hire my own attorney.
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           (775) 284-1500 Fax (775) 703-5027




                                                         Print Name:
                                                 11
               THIERMAN BUCK, LLP




                                                         Signature:
                  7287 Lakeside Drive




                                                 12
                    Reno, NV 89511




                                                 13                      
                                                         Date signed:
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                                                         Employer/Former Employer:
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                                                                                              CONSENT TO JOIN
